Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 1 of 7


      1                   UNITED STATES DISTRICT COURT
      2                   SOUTHERN DISTRICT OF FLORIDA
      3
      4   SECURITIES AND EXCHANGE      )
          COMMISSION,                  )
      5                                )
                        Plaintiff,     )
      6                                )
          vs.                          ) Case No.
      7                                ) 1:21-CV-21079-Bloom
          MINTBROKER INTERNATIONAL,    )
      8   LTD., f/k/a SWISS AMERICA    )
          SECURITIES LTD. and d/b/a    )
      9   SURETRADER, and GUY GENTILE, )
          a/k/a GUY GENTILE NIGRO,     )
     10                                )
                        Defendants.    )
     11   _____________________________)
     12
     13
     14             VIDEOTAPED DEPOSITION OF GUY GENTILE
     15                           Miami, Florida
     16                  Wednesday, November 29, 2023
     17
     18
     19
     20
     21
     22
     23   Reported by:
     24   Rebecca Callow, RMR, CRR, RPR
     25   Job No. 231129RJC
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 Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 2 of 7


12:29   1                   So I was restricted in my travel to
        2    some degree and -- and I had stepped away.            So I
        3    wasn't involved.
        4        Q.   Okay.    So back to my original question:
12:30   5    Who, in 2016 from the SEC, was running your company?
        6                   MR. FORD:     Objection.
        7        BY MS. JOHNSON:
        8        Q.   You can answer.
        9        A.   I believe I answered that already.            I said
12:30 10     from 2012 -- from the middle of 2012 to the middle
        11   of 2015 is when I was told from the DOJ --
        12      Q.    I'm not asking about that time period.
        13                  2016.    If you don't know, if you don't
        14   have a name -- I'm asking specifically in 2016.
12:30 15         A.   Oh.   In 2016.     In 2016, the person that was
        16   controlling my firm was Sajjad from the SEC.            He
        17   was -- he had an undercover operative working in my
        18   office, stealing documents on behalf of the SEC and
        19   providing them to the government while I was in
12:30 20     active litigation with them and then forwarding
        21   those documents again to the DOJ, which was in
        22   active litigation also.
        23                  That's who was controlling my firm.
        24   Manipulating --
12:31 25         Q.   How was Sajjad controlling your firm?
                                                                                      73

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 Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 3 of 7


12:31   1        A.   He was telling a director to steal
        2    documents from the firm.
        3        Q.   Mr. -- who are you saying he told to steal
        4    from the firm?
12:31   5        A.   He was telling lying Philip Dorsett to
        6    steal documents from my firm.        And he was doing it
        7    at his request.
        8        Q.   All right.     How is that controlling your
        9    firm?
12:31 10                    Did -- Mr. Sajjad Matin, did he tell
        11   you what customers to accept?
        12                  MR. FORD:     Objection.
        13      Foundation.
        14       A.   He -- he -- controlling the firm --
12:31 15         BY MS. JOHNSON:
        16       Q.   All right.     Define "control" for me.
        17                  What are you talking about when you say
        18   "control of the firm"?
        19       A.   Well, he threatened Philip Dorsett with
12:31 20     criminal charges.     There's a letter from Sajjad to
        21   Philip saying, Do this, or I'm going to potentially
        22   bring criminal charges against you, from my
        23   recollection of that.
        24                  And based on discovery, we found out
12:31 25     that lying Philip Dorsett was working with Sajjad
                                                                                      74

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 Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 4 of 7


12:31   1    while I'm in active litigation with the SEC, and
        2    Sajjad was asking him to go into the firm and, say,
        3    Hey, look for these documents and get these
        4    documents and send them to me, you know?
12:32   5                   And this guy's the chief compliance
        6    officer of the firm -- or the compliance officer at
        7    the firm being directed by the SEC on what to do
        8    under threat of being charged criminally.           So, to
        9    me, that's a form of control.
12:32 10         Q.   Okay.
        11      A.    Just the same way I was controlled by the
        12   DOJ, the FBI, and the SEC, Philip Dorsett was also
        13   controlled.
        14       Q.   All right.     In 2016 --
12:32 15         A.   The SEC has been really controlling this
        16   whole thing.
        17      Q.    -- who decided which customers to accept?
        18      A.    Philip Dorsett.
        19      Q.    Who decided what trades could be made in
12:32 20     2016?
        21      A.    Customers.     Customers.
        22      Q.    Who decided what your marketing campaign
        23   would be in 2016?
        24      A.    Well, that would have been Janay.
12:32 25         Q.   All right.     What about in 2017?        Who
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Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 5 of 7


      1                   UNITED STATES DISTRICT COURT
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      9   SURETRADER, and GUY GENTILE, )
          a/k/a GUY GENTILE NIGRO,     )
     10                                )
                        Defendants.    )
     11   _____________________________)
     12
     13
     14                      REPORTER'S CERTIFICATE
     15             VIDEOTAPED DEPOSITION OF GUY GENTILE
     16                        November 29, 2023
     17
     18               I, Rebecca J. Callow, Registered Merit
     19   Reporter, Certified Realtime Reporter, Registered
     20   Professional Reporter and Notary Public in and for
     21   the State of Florida, hereby certify to the
     22   following.
     23               That the witness, GUY GENTILE, was duly
     24   sworn by the officer and that the transcript of the
     25   oral deposition is a true record of the testimony
                                                                                     252

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Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 6 of 7


      1   given by the witness;
      2               That the original deposition was delivered
      3   to Ms. Alise Johnson, Securities and Exchange Commission.
      4               That a copy of this certificate was served
      5   on all parties and/or the witness shown herein on
      6   December 1, 2023.
      7
      8               I further certify that pursuant to FRCP
      9   Rule 30(f)(1) that the signature of the deponent:
     10               [    ] was requested by the deponent or a
     11   party before the completion of the deposition and is
     12   to be returned within 30 days from date of receipt
     13   of the transcript.       If returned, the attached
     14   Changes and Signature Page contains any changes and
     15   the reasons therefor;
     16               [ X ] was not requested by the deponent or
     17   a party before the completion of the deposition.
     18               I further certify that I am neither
     19   counsel for, related to, nor employed by any of the
     20   parties or attorneys to the action in which this
     21   proceeding was taken.        Further, I am not a relative
     22   or employee of any attorney of record in this cause,
     23   nor am I financially or otherwise interested in the
     24   outcome of the action.
     25
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Case 1:21-cv-21079-BB Document 220-1 Entered on FLSD Docket 02/12/2024 Page 7 of 7


      1
      2               SUBSCRIBED AND SWORN TO under my hand and
      3   seal of office on this the 1st day of
      4   December, 2023.
      5
      6
      7                      ______________________________
      8                      Rebecca J.
                                     J. Callow, RMR, CRR, RPR
                                                          RP
      9                      Notary Public, Miami-Dade County
     10                      My Commission No. HH 409626
     11                      Expires:    6/12/2027
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